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                    Exhibit 24
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Lahoux Optics — элементы для приборов ночного видения                                                                            8/22/17, 8(15 PM




 электронно-оптические преобразователи производства Photonis
 Тепловизионные приборы Lahoux Optics, FLIR Systems, Thermoteknix
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         Продукты
              Низкоуровневые камеры
              Тепловизионные и низкоуровневые приборы
              Комплектующие
              ЭОПы
         Видео
         Справочник
              ЭОПы
              Тепловизоры
         Спецпредложение
         Контакты



                                          Низкоуровневые камеры Nocturn




         Простые, компактные низкоуровневые камеры Nocturn для наблюдения в самых различных условиях освещения



                                 Тепловизионные и низкоуровневые приборы




                                    Приборы на основе тепловизионных и низкоуровневых матриц




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Lahoux Optics — элементы для приборов ночного видения                                                                            8/22/17, 8(15 PM



                                                        Комплектующие




                                                  Комплектующие для производителей



                                    Электронно-оптические преобразователи




                Электронно-оптический преобразователь является основным элементом приборов ночного видения.



 Lahoux Optics — современные решения для
 ночного видения




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Lahoux Optics — элементы для приборов ночного видения                                                                            8/22/17, 8(15 PM



 Компания Lahoux Optics была основана в 1992 году и занимается различными вопросами ночного
 видения.

 Lahoux Optics является эксклюзивным представителем голландско-французской группы компаний
 Photonis (ранее DEP), производителя электронно-оптическиз преобразователей, которые лежат в
 основе традиционных приборов ночного видения, таких как монокуляры, очки, оптические прицелы и
 различные насадки. Голландские ЭОПы XR5, XD-4, SuperGen, Gen II Plus, ONYX, 16 mm, ICU,
 Inverting Tubes являются одними из лучших в мире.

 Компания Lahoux Optics является также официальным представителем мирового лидера по
 производству тепловизионной техники компании FLIR Systems. Незаменимы для обеспечения
 безопасности и охраны правопорядка портативные тепловизоры серии H и LS. Различные
 тепловизионные приборы для охотников Scout представлены сериями TS и PS. Мы представляем
 также тепловизионные монокуляры собственной сборки на основе высокоразрешающих модулей Tau
 FLIRa.

 Для ОЕМ производителей ночных и тепловизионных приборов мы предлагаем различные компоненты,
 такие как модули, микродисплеи, обьективы, низкоуровневые матрицы, камеры и другие
 комплектующие от известных производителей. Отметим среди них тепловизионный модуль
 Microcam производства английской компании Thermoteknix, обладающий низким энергопотреблением
 и уникальной технологией электронной калибровки.

 Самой инновационной разработкой в ночном видении является так называемая технология
 совмещенного видения, где тепловидение и традиционная технология с применением эопов обьединены.
 Такое техническое решение реализовано компанией Thermoteknix в изделии ClipIR, которое может
 быть использовано совместно с монокуляром D370 или очками PVS14.

 На нашем сайте можно ознакомиться не только с техническими характеристиками приборов, но также
 посмотреть видео и некоторые справочные материалы, включая чертежи изделий.

 Мы ответим на все ваши вопросы относительно порядка приобретения приборов и по поводу
 дополнительной технической информации.

                                                                                                    Искренне Ваш,
                                                             генеральный менеджер Lahoux Optics — Эдуард Лейнванд.

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Tau 640 — Тепловизионные и низкоуровневые приборы — Lahoux Optics                                                                  8/22/17, 8(16 PM




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              ЭОПы
         Видео
         Справочник
              ЭОПы
              Тепловизоры
         Спецпредложение
         Контакты




         Тепловизионные и низкоуровневые приборы
              FLIR Scout TK
              FLIR Scout II 640
              FLIR Scout II 240 и FLIR Scout II 320
              LV-21
              ThermoRay TRM-640/35
              PathFindIR™
              Tau 640
              FLIR H-Series
              FLIR LS-Series
              FLIR Scout PS-Series

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Tau 640 — Тепловизионные и низкоуровневые приборы — Lahoux Optics                                                                 8/22/17, 8(16 PM



              FLIR Scout TS-Series
              Бинокулярные тепловизоры FLIR BHS-Series
         Низкоуровневые камеры Nocturn
         Комплектующие
         Электронно-оптические преобразователи
                Тепловизионные и низкоуровневые приборыTau 640


 Tau 640
 В тепловизионном модуле Tau 640 применяется та же технология создания тепловизионных
 изображений, используемая во многих наиболее сложных системах компании FLIR Systems. В основу
 этого устройства положены усовершенствованные технологии обработки изображений компании
 FLIR, обеспечивающие безупречную контрастность вне зависимости от движения объекта.

 Даже при наличии лучшей камеры для дневного освещения или для низкого уровня освещенности,
 существует много ситуаций, когда тепловизионная камера превзойдет все остальные датчики.

 Модуль Tau 640 снабжён микроболометрической матрицей LWIR 640x480 с размером пикселя 17 мкм.

 В отличие от других систем ночного видения, которым для создания изображения требуется хотя бы
 минимальное освещение, тепловизионные системы абсолютно не нуждаются в свете.

 Стандартным видео выходом является NTSC с частотой 30 кадров в секунду (FPS), или PAL на 25
 кадров в секунду. Режим медленного видео составляет 7,5 кадров в секунду для NTSC и 8,3 кадров в
 секунду для PAL.

 Некоторые ключевые особенности тепловизионного модуля Tau 640 перечислены ниже.

         Переключение между NTSC и PAL форматами видео
         CMOS и BT.656 функции цифрового видео, как и у предшествующего устройства Photon
         Высокая скорость последовательной передачи данных до 921600 бод (через последовательный
         интерфейс Tau VPC к USB-аксессуару)
         Дополнительный удобный интерфейс для управления конфигурацией камеры
         Режим захвата и хранения изображения
         Возможность питания и соединения камеры помимо опции USB (через последовательный
         интерфейс Tau VPC к USB-аксессуару)
         Подавление ЭМИ (электромагнитного излучения) класса B с установленной задней крышкой,
         либо класса A без задней крышки
         Механический удар — до 200 g
         Дискретные функции управления камерой, доступные для производителей OEM
         Несколько вариантов объективов для широких и узких областей обзора
         Широкий угол обзора объектива в стандартном исполнении
         Герметичность по классу IP-67 (пыленепроницаемость, водонепроницаемость)
         Резьбовые WFOV-тубусы объектива, отличающиеся удобством и лёгкостью монтажа
         Обновляемое ПО / прошивки
         Поддержка пользовательских символик

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Tau 640 — Тепловизионные и низкоуровневые приборы — Lahoux Optics                                                                 8/22/17, 8(16 PM



         Справочное FFC-ПО позволяет производителям OEM градуировать характеристики объектива
         для улучшения качества изображения
         Заказчики могут загружать свои собственные стартовые заставки

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Tau 320 — Тепловизионные и низкоуровневые приборы — Lahoux Optics                           5/21/17, 9)31 PM




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               ЭОПы
          Видео
          Справочник
               ЭОПы
               Тепловизоры
          Спецпредложение
          Контакты




          Тепловизионные и низкоуровневые приборы
               Тепловизор Guide IR510P
               FLIR Scout TK
               FLIR Scout II 640
               FLIR Scout II 240 и FLIR Scout II 320
               LV-21
               ThermoRay TRM-640/35
               PathFindIR™
               Tau 640
               FLIR H-Series
               FLIR LS-Series
               FLIR Scout PS-Series
               FLIR Scout TS-Series

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Tau 320 — Тепловизионные и низкоуровневые приборы — Lahoux Optics                           5/21/17, 9)31 PM



          Низкоуровневые камеры Nocturn
          Комплектующие
          Электронно-оптические преобразователи
                      Тепловизионные и низкоуровневые приборыTau 320


 Tau 320
 Tau 320 представляет собой неохлаждаемый длинноволновый (8 - 14 микрон) тепловизионный модуль,
 обладающий передовыми характеристиками в своём классе — хорошей надёжностью, высокой
 чувствительностью, компактными размерами и низким энергопотреблением.

 Совокупность небольших размеров, малого веса, незначительного расхода энергии и выдающихся
 характеристик изображения делает Tau 320 идеальным тепловизионным модулем, удовлетворяющим
 самые высокие требования.

 Очень легкий, Tau 320 может быть установлен везде. Его можно закрепить в любой точке с
 оптимальным обзором для обеспечения максимального поля видимости.

 Модуль Tau прекрасно подходит для различных вариантов интеграции в существующие системы
 наблюдения.

 Тепловидение обеспечивает преимущество над низкоуровневыми камерами и камерами дневного
 видения при условиях, когда освещение невозможно, слишком дорого или требуется большая
 дальность обзора.

 Tau 320 — первый неохлаждаемый тепловизионный модуль, позволяющий объединить все
 вышеперечисленные атрибуты в одном доступном, высокопроизводительном устройстве.

 Камера Tau изготавливается с различными вариантами объективов. Комплект разработчиков
 программного обеспечения Тау (SDK) позволяет управлять камерой с помощью одного из нескольких
 языков программирования, включая VB6, VB.net, C # и C + + (MFC). Контроллер графического
 интерфейса камеры FLIR является примером приложения, созданного с помощью SDK.

 Камера обеспечивает возможность режима прямой подачи мощности на видео-выход, что означает, что
 нужно только подать напряжение на вход для получения аналогового видео. Для применений,
 требующих последовательного управления, камера Tau содержит последовательный интерфейс (RS-
 232) для передачи команд и получения статуса состояния. Камера Tau также обеспечивает 8-битный и
 14-битный цифровые варианты обработки данных, в том числе CMOS, BT-656, также как и у
 предшествующего устройства Photon.

 Все вышеперечисленные объективы обладают герметичностью IP-67. Все объективы , кроме 25 мм и
 35 мм, обладают покрытием с алмазным напылением, обеспечивающим превосходную защиту от
 износа, в то время как 25 мм и 35 мм изначально имеют высокую прочность покрытия.

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